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                                                                                                            2020 Oct-22 PM 03:50
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case                                   U.S. DISTRICT COURT
                                                                                                                N.D. OF ALABAMA


                                UNITED STATES DISTRICT COURT
                                    Northern District of Alabama
UNITED STATES OF AMERICA

         v.                                                           Case Number 5:19-CR-232-AKK-SGC-1

JOHN CIMINO

       Defendant.


                                        JUDGMENT IN A CRIMINAL CASE
                              (For Offenses Committed On or After November 1, 1987)

         The defendant, JOHN CIMINO, was represented by Richard Jaffe and Michael Whisonant, Jr.

         On motion of the United States, the court has dismissed counts 2, 3, 4, 5, and 6.

        The defendant pleaded guilty to count 1. Accordingly, the defendant is adjudged guilty of the following
count, involving the indicated offense:

Title & Section                              Nature of Offense                              Count Number

18 U.S.C. § 1349                   Conspiracy to Commit Health Care Fraud                   1

     As pronounced on October 6, 2020, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $100.00, for count
1, which shall be due immediately.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.


         Signed this the 22nd day of October, 2020.




                                                                      ________________________________
                                                                            ABDUL K. KALLON
                                                                     UNITED STATES DISTRICT JUDGE
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 4 - Probation


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                                                                 PROBATION

       The defendant is hereby placed on probation for a term of THREE (3) years. The Probation Office shall
provide the defendant with a copy of the standard conditions and any special conditions of probation.
                                                 STANDARD CONDITIONS OF PROBATION

While the defendant is on probation pursuant to this Judgment:
1)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time you
     were sentenced (if placed on probation) or released from custody (if supervised release is ordered), unless the probation officer instructs
     you to report to a different probation office or within a different time frame.
2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     to report to the probation officer, and you must report to the probation officer as instructed.
3)   You must not commit another federal, state, or local crime.
4)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified, for the specific purpose of causing bodily injury or death to another person, such as nunchakus or tasers).
     Revocation of supervision is mandatory for possession of a firearm.
5)   You must not unlawfully possess a controlled substance.
6)   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court. You must contribute to the cost of drug testing
     unless the probation officer determines you do not have the ability to do so. Based upon a court order entered during the period of
     supervision for good cause shown or resulting from a positive drug test or evidence of excessive use of alcohol, you shall be placed
     in the Substance Abuse Intervention Program (SAIP) (or comparable program in another district).
7)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
8)   You must follow the instructions of the probation officer related to the conditions of supervision.
9)   You must answer truthfully the questions asked by the probation officer.
10) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
     within 72 hours of becoming aware of a change or expected change. (If you have been convicted of a crime of violence or a drug
     trafficking offense, the probation office is responsible for complying with the notice provisions of 18 U.S.C. § 4042(b) and (c) if you
     change your residence.)
11) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
12) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
     so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses you from
     doing so. If you plan to change where you work or anything about your work (such as the position or the job responsibilities), you must
     notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
     due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.
13) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
     of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
14) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
15) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
16) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
     you to notify the person about the risk, and you must comply with that instruction. The probation officer may contact the person and
     confirm that you have notified the person about the risk.
17) You must fully and truthfully disclose financial information as requested by the probation officer related to the conditions of supervision.
     Financial information may include, but is not limited to, authorization for release of credit information, bank records, income tax returns,
     documentation of income and expenses, and other financial information regarding personal or business assets, debts, obligations, and/or
     agreements in which the defendant has a business involvement or financial interest.
18) You must support all dependents.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Probation
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                                    CONTINUATION OF STANDARD CONDITIONS OF PROBATION

19)   You must comply with the probation office's Policies and Procedures Concerning Court-Ordered Financial Obligations to satisfy the
      balance of any monetary obligation resulting from the sentence imposed in the case. Further, you must notify the probation officer of
      any change in your economic circumstances that might affect your ability to pay a fine, restitution, or assessment fee. If you become
      more than 60 days delinquent in payments of financial obligations, you may be: (a) required to attend a financial education or
      employment preparation program under the administrative supervision of the probation officer; (b) placed on home detention subject
      to location monitoring for a maximum period of 90 days under the administrative supervision of the probation officer (and you must pay
      the cost of monitoring unless the probation officer determines you do not have the ability to do so); and/or (c) placed in a community
      corrections center for up to 180 days under the administrative supervision of the probation officer (and you must pay the cost of
      subsistence unless the probation officer determines you do not have the ability to do so).
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 4 (cont'd) - Probation


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                                               SPECIAL CONDITIONS OF PROBATION

While the defendant is on probation pursuant to this Judgment:

1)   You will be monitored for a period of 8 months by location monitoring technology under the administrative supervision of the probation
     officer, and you must comply with all requirements of the location monitoring program. You must pay for the cost of monitoring unless
     the probation officer determines you do not have the ability to do so. During the period of monitoring, you are restricted to your
     residence: At all times except for employment; education; religious services; medical, substance abuse or mental health treatment;
     attorney visits; court appearances or other court-ordered obligations; and other activities pre-approved by the probation officer.
     (Home Detention)
     The form of location monitoring technology used to monitor you will be at the discretion of the probation officer.
2)   The requirement that you submit to mandatory drug testing is suspended based upon the court's determination that you pose a low risk
     of future substance abuse.
3)   You must not incur any new debts (other than normal debts for existing utilities, rental expenses, or mortgage payments), increase
     existing credit lines, or open any new lines of credit without the permission approval of the probation officer unless and until all
     court-ordered financial obligations have been paid in full. New debt includes contracts which obligate payments, credit agreements,
     and loans, including those with friends and family members.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 6 - Restitution and Forfeiture


                                                                                             Judgment--Page 5 of 6
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                                              RESTITUTION AND FORFEITURE


                                                           RESTITUTION

      The court, pursuant to the Victim and Witness Restitution Act, finds that the following is victinm of
defendant's criminal conduct and has sustained loss in the indicated amount and orders restitution by the
defendant as follows:

 Name & address of payee(s)                                                                         Amount

 (Via Mail)                                                                                       $244,656.00
 Credit Gateway
 401 14th Street SW
 Washington, DC 20227
        or
 (Via Electronic Funds Transfer)
 TRICARE-CRM Collections ACH
 Routing Number: 051036706
 ACCT #: 897000012001




      Payments of restitution without interest are to be made to Clerk, U. S. District Court, for transfer to the
payees. Payments are to be made jointly and severally with co-defendant Katherine Barnett.

        Restitution is due and payable immediately. During the period of supervision, the defendant is to make
payments of $100.00 per quarter. The defendant is to make monthly payments during the period of supervision
in accordance with the financial guidelines previously approved by the court to use in this district and administrated
by the probation officer. Payment is due in full no later than the end of defendant's term of supervision. Payments
made during the term of supervision, or otherwise, do not preclude the government from using other assets or
income of the defendant to satisfy this restitution obligation.

        Pursuant to 18 U.S.C. § 3664 (i), all nonfederal victims must be paid before the United States is paid. If
there are multiple payees, any payment not made directly to a payee shall be divided proportionately among the
payees named unless otherwise specified here:


        Note: The victim's recovery is limited to the amount of their loss and the defendant’s liability for
restitution ceases if and when the victim receives full restitution.
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                                                           FORFEITURE

         The defendant is ordered to forfeit the following property to the United States:

                  See Final Oder of Forfeiture (doc. 76).
